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                                   5                                UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   9   CORECIVIC, INC.,
                                  10                  Plaintiff,                            No. C 20-03792 WHA

                                  11           v.

                                  12   CANDIDE GROUP, LLC, and
Northern District of California




                                                                                            ORDER GRANTING
 United States District Court




                                       MORGAN SIMON,                                        MOTION TO DISMISS
                                  13
                                                      Defendants.
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                                            A multitude of issues have been tendered on defendants’ motion to dismiss and to strike
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                                       the complaint for defamation. It turns out, however, that CoreCivic, Inc., did, in fact, operate
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                                       detention facilities for parents separated from their children pursuant to the Border Patrol’s
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                                       family separation policy. Thus, even though CoreCivic did not operate the detention facilities
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                                       in which the children themselves were housed, CoreCivic did house the other half of the
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                                       afflicted families or at last some of them. Therefore, the allegedly defamatory statements were
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                                       true enough under the First Amendment and under California defamation law. Truth being a
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                                       defense, the complaint is DISMISSED WITHOUT LEAVE TO AMEND. It is unnecessary to reach
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                                       the remaining issues tendered. All other motions are DENIED AS MOOT.
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                                            IT IS SO ORDERED.
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                                       Dated: November 19, 2020.
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                                  27                                                           WILLIAM ALSUP
                                                                                               UNITED STATES DISTRICT JUDGE
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